Case 17-24341-CMG            Doc 33-3 Filed 04/04/18 Entered 04/04/18 10:53:20              Desc
                                 Proposed Order Page 1 of 2




UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-2(c)
DAMIEN NICHOLAS TANCREDI (DT 1383)
FLASTER/GREENBERG P.C.
Commerce Center
1810 West Chapel Avenue
Cherry Hill, NJ 08002-4609
Attorneys for John W. Hargrave, Chapter 7 Trustee
In re:
                                                          Case No. 17-24341-CMG
Shirley Rose Marie Keintz,

                                Debtor.                   Chapter 7



                                     ORDER AUTHORIZING
                                   SALE OF REAL PROPERTY

        The relief set forth on the following page, numbered two (2) and three (2), is hereby

ORDERED.
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                                 Proposed Order Page 2 of 2
(Page 2)
Debtor:         Shirley Rose Marie Keintz,
Case No.:       17-24341-CMG
Caption:        ORDER AUTHORIZING SALE OF REAL PROPERTY



         After review of the Trustee’s Motion for authorization to sell real property located at 144

Lowell Avenue, Hamilton, NJ (the “Motion” and the “Property”, respectively),

         IT IS hereby ORDERED as follows:

         1.     The Debtor is authorized to sell the Real Property on the terms and conditions of

the Agreement of Sale annexed to the Motion as Exhibit “A” pursuant to 11 U.S.C. §§ 363(b)

and 1303. Title to the Real Property shall be conveyed by both the Debtor and the Chapter 7

Trustee.

         2.     The proceeds of the Sale must be used to satisfy the liens on the Real Property.

         3.     The Sale of the Property is free and clear of liens, claims, and encumbrances

pursuant to 11 U.S.C. § 363(f) and such liens, claims, and encumbrances shall attach to the

proceeds of the Sale.

         4.     A 6% realtor’s commission due to Keller Williams Realty with 2.5% of that to be

paid to Realty Mark Central from the Sale may be paid at closing.

         5.     Other closing fees payable by the Debtor may be satisfied from the proceeds of

the sale and adjustments to the price as provided for the contract of sale may be made at closing.
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